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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------X




                                                  .............................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                         15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X



                       Defendant’s Motion to Compel Responses to
        Defendant’s Second Set of Discovery Requests to Plaintiff, and for Sanctions




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         Defendant Ghislaine Maxwell moves under Federal Rule of Civil Procedure 37(a)(3)(B)

to compel Plaintiff Virginia Giuffre to provide responsive answers to Ms. Maxwell’s Second Set

of Discovery Requests, attached as Exhibit A to Declaration of Laura A. Menninger

(“Menninger Decl.”).

         Certificate of conferral. Undersigned counsel certifies counsel for Ms. Maxwell has

conferred with Plaintiff’s counsel regarding the subject matter of this Motion. Based on the

conferral, Plaintiff’s counsel wrote a letter declining to supplement any of the responses to the

Second Set of Discovery Requests.

                                      PRELIMINARY STATEMENT

         Plaintiff has brought a lawsuit alleging Ms. Maxwell defamed her. The defamation

consisted of Ms. Maxwell’s defensive statements denying Plaintiff’s repeated, false allegations

that Ms. Maxwell had subjected plaintiff to “sex trafficking” while Plaintiff was 15 years old.

Plaintiff alleged in her Rule 26(a)(1)(A)(iii) disclosures that she has suffered noneconomic injury

of “not less than” $30 million, medical expenses of “not less than” $100,000, and lost earnings of

“not less than” $5 million.1 She also has requested punitive damages of $50 million.

         Despite claiming defamation damages exceeding $80 million, Plaintiff routinely has

stonewalled our efforts to obtain basic information about the nature of the alleged defamation

and the scope of her alleged damages. Plaintiff’s frustration of our discovery efforts has impeded

our ability to prepare a defense.

         Illustrative is Interrogatory No. 6, propounded on Plaintiff in Ms. Maxwell’s Second Set

of Discovery Requests, which are at issue in this Motion. We are entitled to know each allegedly

defamatory statement that is the subject of this lawsuit. Plaintiff and her counsel have alleged

         1
          Seven months after claiming she had suffered $5 million in “past and future lost wages” and “past and
future los[t] … earning capacity and actual earnings,” Plaintiff on June 24, 2016, abruptly withdrew all claims for
alleged lost wages, earning capacity and “actual earnings.”

                                                          1
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that Ms. Maxwell has published “numerous” false statements, yet Plaintiff stubbornly refuses to

identify each of these allegedly false statements. Interrogatory No. 6 asked simply that for each

allegedly false statement, Plaintiff “identify … the exact false statement.” True to form, Plaintiff

identified only statements referenced in her Complaint and refused to provide any other “exact

false statement[s]” allegedly published by Ms. Maxwell.

                                          ARGUMENT

       This Motion concerns improper objections and evasive and other improper responses to

six interrogatories, eleven requests for admissions, and six requests for production of documents.

See Menninger Decl., Ex. B (Plaintiff’s Responses and Objections to Ms. Maxwell’s Second Set

of Discovery Requests). The Court should compel Plaintiff to:

       x    submit responsive answers to the interrogatories, and identify what information, if
            any is being withheld on the basis of which objection;
       x    answer the requests for admissions in compliance with Rule 36(a)(4);
       x    for each objection to a request to produce, identify what documents are being
            withheld on the basis of which objection; and
       x    produce all documents that are the subject of requests for production at issue in this
            Motion.

       We respectfully submit that Plaintiff’s responses were not made in good faith and the

objections were not interposed in good faith and, accordingly, the Court should award

Ms. Maxwell reasonable attorney fees and costs incurred in bringing this Motion.

        I. Plaintiff’s interrogatory responses are deficient.

       Interrogatory No. 5. Identify each Communication that You or Your Attorneys
       have had with any author, reporter, correspondent, columnist, writer,
       commentator, investigative journalist, photojournalist, newspaper person,
       freelance reporter, stringer, or any other employee of any media organization or
       independent consultant to the same, including:
            a. the date of any such Communication;
            b. the form of any such Communication, whether oral or written and if
            written, the format of any such Communication;


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    c. the identities of all persons involved in such Communication, including the
    identity of the media organization with whom the agent is or was affiliated;
    d. the article title, date of publication, and means of publication of any article,
    report, or re-printing of any such Communication made by You or Your
    Attorneys;
    e. the amount of Income that You and/or Your Attorneys received in
    exchange for any such Communication;
    f. the dates on which You and/or Your Attorneys received any such Income
    for any such Communication.
Response:

    Ms. Giuffre objects to this interrogatory in that it violates Rule 33 as its
subparts, in combination with the other interrogatories, exceed the allowable
twenty-five interrogatories. Ms. Giuffre objects in that it seeks information
protected by the attorney-client privilege, work product protections, and any other
applicable privilege or protection as stated in the General Objections.
     Ms. Giuffre further objects to this interrogatory on the grounds that it is
overly broad and unduly burdensome as it is not limited in time, manner, or
subject matter. The request is grossly over broad in that it does not require the
communication to have any connection with Ms. Giuffre or this case whatsoever.
Indeed, a response to this interrogatory would require each of Ms. Giuffre’s
attorneys to research and find any communication they have ever had with a
journalist, for every year of their practice, regardless of what case was involved,
and regardless of what year the communication was made. Ms. Giuffre’s
attorney’s, collectively, have worked on hundreds (if not thousands) of matters,
and collectively have well over 100 years of combined practice experience.
Accordingly, a request that each of these attorneys list all communications with
the media is facially overbroad.
     Additionally, Ms. Giuffre objects to this Interrogatory because a response
would cause Ms. Giuffre the incredible and undue burden of having to catalogue
literally hundreds of communications that she has already produced in this case.
    Moreover, Ms. Giuffre objects because this interrogatory calls for the
production of documents that are irrelevant to this action and not reasonably
calculated to lead to the discovery of admissible evidence. Communications with
the media regarding cases that bear no relation to the subject matter of this case,
from decades in the past, are facially invalid and not calculated to lead to the
discovery of admissible evidence.
     Ms. Giuffre additionally objects to the extent that this interrogatory seeks the
communications of her attorneys, any author, reporter, correspondent, columnist,
writer, commentator, investigative journalist, photojournalist, newspaper person,
freelance reporter, stringer, or any other employee of any media organization or

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        independent consultant as such interrogatory is overly broad and unduly
        burdensome. Furthermore, Ms. Giuffre is not obligated to produce anything
        currently in the possession of Defendant Maxwell or her attorneys.
            Notwithstanding such objections, Ms. Giuffre has already produced her
        responsive communications, which are found in documents Bates labelled
        GIUFFRE000001 to GIUFFRE007566.

        Objection 1.2

        The interrogatory does not exceed the limit. Plaintiff alleged Interrogatory No. 5 exceeds

the 25-interrogatory limit. Plaintiff is wrong. She failed to take into account that the Second Set

of Discovery Requests merely repeated five (5) interrogatories that were propounded in the First

Set of Discovery Requests. Defendant objected in her Responses to the First Set on the ground

the interrogatories were propounded prematurely. Plaintiff double-counted those interrogatories.

        Second, Plaintiff’s argument is wrong because she counted every subpart as a separate

interrogatory, regardless of whether all the subparts are related by subject matter. That is an

improper way to count interrogatories. Rule 33(a)(1) itself provides that for a subpart to count as

a separate interrogatory, it must be “discrete.” Among the courts that have dealt with this issue,

“there has developed a common denominator on how to weigh an interrogatory’s subparts as

independent and discrete.” Bartnick v. CSX Transp., No. 1:11-CV-1120 GLS/TRF, 2012 WL

1565057, at *2 (N.D.N.Y. Apr. 27, 2012). An interrogatory’s subparts are to be counted as

separate and discrete subparts only “if they are not logically or factually subsumed within and

necessarily related to the primary question,” id. (citing cases).

        Further, Local Rule 26.3(c) provides a uniform meaning of “identify” with respect to

persons and documents and requiring the “type,” date, addressee and recipient of documents or,

alternatively, production of same and as to persons, the name, addresses and last known place of


        2
          Many of Plaintiff’s objections were repeated for numerous interrogatory responses. To avoid repetition in
this Motion, we number each discrete objection serially.

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employment. Here, each of the interrogatories—even those like No. 5 with subparts—

propounded by Ms. Maxwell constitute a single interrogatory under Rule 33(a)(1).

       Objection 2.

       Plaintiff’s unreasonable reading of the interrogatory. Plaintiff objected that the

interrogatory is not limited in “time, manner or subject matter.” The objection is not well taken.

Local Rule 26.4(b) provides in part that “[d]iscovery requests shall be read reasonably”

(emphasis supplied). So read, this interrogatory is limited to communications Plaintiff and her

attorneys have had with media representatives concerning the subject matter of this lawsuit.

Notably, setting aside Plaintiff’s unreasonable interpretation of the interrogatory, Plaintiff

provided no responsive answer whatsoever.

       Plaintiff also argued that with respect to her attorneys the interrogatory required the

attorneys to disclose their communications with media representatives “for every year of their

practice, regardless of what case was involved, and regardless of what year the communication

was made.” That is an unreasonable—absurd—interpretation of the interrogatory.

       Objection 3.

       There is no undue burden. Plaintiff objected that the interrogatory imposes upon her an

“undue burden” because she would have to “catalogue literally hundreds of communications that

she has already produced in this case.” So long as Plaintiff admitted—as she does—that her and

her attorneys’ communications with media representatives regarding the subject matter of this

lawsuit are relevant, she cannot complain of an “undue burden” because she and her attorneys

have communicated “hundreds” of times with media representatives. Such an unreasonable view

of the law would permit a party to resist providing relevant information by claiming she has too

much relevant information.



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         Objection 4.

         The requested information is relevant. Piggybacking on Objection 2, Plaintiff objected

that “Communications with the media regarding cases that bear no relation to the subject matter

of this case, from decades in the past, are … not calculated to lead to the discovery of admissible

evidence” (emphasis supplied). As already discussed, the interrogatory requested information

about Plaintiff’s and her attorneys’ communications with media representatives concerning the

subject matter of this action. Plaintiff and her attorney’s communications with the media are

directly relevant to numerous defenses available to Ms. Maxwell, including without limitation,

her self-defense privilege, whether Plaintiff is a limited public figure, Ms. Maxwell’s right to fair

comment, that Ms. Maxwell’s comments did not affect Plaintiff’s reputation, Plaintiff’s

contributory negligence, Plaintiff’s failure to mitigate, and Plaintiff’s damages are the proximate

result of her own conduct or the conduct of others.

         Objection 5.

         No privilege applies. Plaintiff has interposed the attorney-client privilege and the work

product doctrine.3 It is inconceivable that Plaintiff or her attorneys have a good faith basis to

interpose the attorney-client privilege or work product doctrine over their communications with

media representatives. In any event, they have failed to explain any factual basis for interposing

the privilege or doctrine.




         3
           Plaintiff also attempted to interpose “any” objection listed in her “general objections.” In her “general
objections” Plaintiff asserted—generally and redundantly—“any applicable privilege, including but not limited to,
attorney client privilege, work product privilege, joint defense privilege, public interest privilege, and any other
applicable privilege [sic].” Such a broad, general and generic assertion of privilege is ineffective to preserve any
privilege, even if one existed. P. & B. Marina, Ltd. P’ship v. Logrande, 136 F.R.D. 50, 54 (E.D.N.Y. 1991) (“A
general allegation or blanket assertion that the privilege should apply is insufficient to warrant protection.”), aff’d
sub nom. P&B Marina Ltd. v. LoGrande, 983 F.2d 1047 (2d Cir. 1992).



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       Plaintiff’s deficient answer. “Notwithstanding” her objections, Plaintiff “answered” by

referring the defense to 7,566 pages of documents (“Ms. Giuffre has already produced her

responsive communications, which are found in documents Bates labelled GIUFFRE000001 to

GIUFFRE007566.”). The vast majority of these documents do not contain any communications

between Plaintiff and her lawyers, on the one hand, and media representatives, on the other. The

answer is improper. See, e.g., In re Ethicon, Inc., Pelvic Repair Sys. Prod. Liab. Litig., No. MDL

2327, 2013 WL 8744561, at *3 (S.D.W. Va. July 26, 2013) (finding interrogatory responses

insufficient where they instructed plaintiffs to search mass of documents for requested

information); Nickerman v. Remco Hydraulics, Inc., No. C 06-2555SI, 2007 WL 3407437, at *3

(N.D. Cal. Nov. 13, 2007) (“Despite repeated admonitions against doing so, plaintiffs continue to

provide general and vague responses and to direct defendants to masses of documents…. Neither

defendants nor the Court should be expected to comb through literally thousands of pages of

documents searching for documents that might support plaintiffs’ IIED claims.”).

       Interrogatory No. 6. Identify any “false statements” attributed to Ghislaine
       Maxwell which were “published globally, including within the Southern District
       of New York” as You contend in paragraph 9 of Count 1 of Your Complaint,
       including:
            a. the exact false statement;
            b. the date of its publication;
            c. the publishing entity and title of any publication containing the purportedly
            false statement;
            d. the URL or internet address for any internet version of such publication;
            and
            e. the nature of the publication, whether in print, internet, broadcast or some
            other form of media.
       Response:

           Ms. Giuffre objects because the information interrogatory above is in the
       possession of Defendant who has failed to comply with her production obligations

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       in this matter, and has failed to comply with her production obligations with this
       very subject matter. See Document Request No. 17 from Ms. Giuffre’s Second
       Request for Production of Documents to Defendant Ghislaine Maxwell.1
       Maxwell has not produced all “URL or Internet addresses for any internet version
       of such publication” that she directed her agent, Ross Gow, to send.
           Ms. Giuffre further objects because the information requested above is in the
       possession of Defendant’s agent, who caused the false statements to be issued to
       various media outlets. Ms. Giuffre has not had the opportunity to depose
       Maxwell’s agent Ross Gow; therefore, this answer remains incomplete.
       Consequently, Ms. Giuffre reserves the right to modify and/or supplement her
       responses, as information is largely in the possession of the Defendant and her
       agent.
            Ms. Giuffre objects to this interrogatory in that it violates Rule 33 as its
       subparts, in combination with the other interrogatories, exceed the allowable
       twenty-five interrogatories. Ms. Giuffre objects to this request because it is in the
       public domain. Ms. Giuffre also objects in that it seeks information protected by
       the attorney-client/work product privilege, and any other applicable privilege
       stated in the General Objections.
           Notwithstanding such objections, Ms. Giuffre has already produced her
       responsive communications, which are found in documents Bates labelled
       GIUFFRE000001 to GIUFFRE007566.

       Objection 6.

       Plaintiff cannot answer by stating that Ms. Maxwell already has the information.

Plaintiff “object[ed]” to the interrogatory because the answer to the interrogatory, she alleged, “is

in the possession of [Ms. Maxwell]” and her agent, or “is in the public domain.” Such an

objection is improper:

       [T]o the extent defendant objects that certain requests … seek information equally
       available to plaintiff, “courts have unambiguously stated that this exact objection
       is insufficient to resist a discovery request.” St. Paul Reinsurance Co., Ltd., CNA
       v. Commercial Fin. Corp., 198 F.R.D. 508, 514 (N.D. Iowa 2000); see also City
       Consumer Servs., Inc. v. Horne, 100 F.R.D. 740, 747 (D. Utah 1983) (“It is ‘not
       usually a ground for objection that the information is equally available to the
       interrogator or is a matter of public record.’” (citation omitted)); United States v.
       58.16 Acres of Land, 66 F.R.D. 570, 573 (E.D. Ill.1975) (“Generally, an
       interrogatory is proper although the information sought is equally available to
       both parties.”). Thus, plaintiff’s motion to compel a response to Interrogatory no.
       13 should be granted.


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National Acad. of Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682

(C.D. Cal. 2009).

       Subpart objection. Plaintiff argued Ms. Maxwell’s interrogatories exceed the limit. This

already is addressed above in the discussion of Objection 1.

       Objection 7.

       No privilege applies. Plaintiff objected that the information requested in the interrogatory

is “protected by the attorney-client/work product privilege, and any other applicable privilege.”

The assertion of privilege is frivolous. The interrogatory requested the false statements that

Plaintiff attributes to Ms. Maxwell and that were published anywhere in the world. These

statements are the very subject of this lawsuit. No such statement is subject to a privilege

belonging to Plaintiff.

       Plaintiff’s deficient answer. “Notwithstanding” her objections, Plaintiff answered ■
                                                                                          by

referring the defense to the documents she previously had produced “Bates labelled

GIUFFRE000001 to GIUFFRE007566.” As discussed above, it is improper to answer an

interrogatory by referring to an undifferentiated mass of documents.

       Plaintiff also “supplement[ed]” her answer with a “list of publications.” This answer is

non-responsive. The interrogatory required Plaintiff, among other things, to provide each “exact

false statement” that she attributes to Ms. Maxwell and that was published anywhere in the

world. This entire case centers on Plaintiff’s claim that Ms. Maxwell published false statements

about Plaintiff and now Plaintiff refuses to identify those statements. The question is not

whether Ms. Maxwell knows what statements have been made in the press; the question is which

statements does Plaintiff contend are false.




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       Interrogatory No. 7. State whether You believe that You have ever been
       defamed by anyone other than Ghislaine Maxwell. If so, as to each alleged act of
       Defamation, state
            a. the exact false statement;
            b. the date of its publication;
            c. the publishing entity and title of any publication containing the purportedly
            false statement;
            d. the URL or internet address for any internet version of such publication;
            and
            e. the nature of the publication, whether in print, internet, broadcast or some
            other form of media.
       Response:
            Ms. Giuffre objects to this interrogatory in that it violates Rule 33 as its
       subparts, in combination with the other interrogatories, exceed the allowable
       twenty-five interrogatories. Ms. Giuffre also objects in that it seeks information
       protected by the attorney-client/work product privilege, and any other applicable
       privilege stated in the General Objections.
            Without waiving the aforementioned objections, Alan Dershowitz published
       statements about Ms. Giuffre in January 2015 and thereafter that remain in the
       public realm. Ms. Giuffre does not have knowledge as to every time and place
       that she was defamed by Dershowitz, and she is not required to provide such an
       exhaustive list as all relevant instances of defamation are available through public
       sources, and identification of the numerous publically made statements would be
       unduly burdensome. Furthermore, upon information and belief, all defamatory
       statements made towards Ms. Giuffre by Dershowitz are within the knowledge
       and possession of Maxwell and her attorneys or can be easily obtained by
       contacting Dershowitz.

       Subpart objection. This is addressed above in the discussion of Objection 1.

       Privilege assertion. This is addressed above in the discussion of Objection 7. For the

same reasons discussed there, this interrogatory does not request any privileged information. It is

inconceivable that a statement about Plaintiff that allegedly is false and published would be

protected from discovery by a privilege held by Plaintiff.

       Plaintiff’s deficient answer. “Notwithstanding” her objections, Plaintiff purported to

answer the interrogatory. The answer is woefully deficient. She answered that she had been
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defamed by Alan Dershowitz, but she failed to provide any information about the allegedly

defamatory statements made by Mr. Dershowitz. For example, she failed to disclose “[t]he exact

false statement[s]” made by Mr. Dershowitz, the date of the publication, the publishing entity,

and the other information required in the interrogatory.


                                                                                          -
       As justification for her failure to answer the interrogatory fully, Plaintiff argued she “does

not have knowledge as to every time and place that she was defamed by Dershowitz.” That

argument is meritless. This interrogatory required Plaintiff to disclose her knowledge as to each

of the interrogatory’s subparts. She improperly failed to disclose this information.

       Plaintiff argued that “identification of the numerous publically [sic] made statements

would be unduly burdensome.” She also argued that Mr. Dershowitz’s defamatory statements

“are within the knowledge and possession of [Ms. Maxwell] and her attorneys or can be easily

obtained by contacting [Mr. Dershowitz].” Neither was a responsive answer. To the extent they

were offered as objections, they are meritless. See National Acad. of Recording Arts & Scis., 256

F.R.D. at 682 (cited in discussion of Objection 5).

       Interrogatory No. 8. Identify the individuals referenced in Your pleadings filed
       in the U.S. District Court for the Southern District of Florida, Jane Doe 1 and
       Jane Doe 2 v. United States of America, 08-cv-80736-KAM, as the “high-profile
       non-party individuals” to whom Mr. Jeffrey Epstein sexually trafficked You,
       “including numerous prominent American politicians, powerful business
       executives, foreign presidents, a well-known Prime Minister, and other world
       leaders,” including as to each episode of alleged sexual trafficking:
            a. the date of any such sexual trafficking;
            b. the location of any such sexual trafficking;
            c. any witnesses to any such sexual trafficking;
            d. any Income You received in exchange for such sexual trafficking; and
            e. any Documents You have to support or corroborate Your claim of such
            sexual trafficking.
       Response:

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            Ms. Giuffre objects to this interrogatory in that it violates Rule 33 as its
       subparts, in combination with the other interrogatories, exceed the allowable
       twenty-five interrogatories. Ms. Giuffre also objects in that it seeks information
       protected by the attorney-client/work product privilege, and any other applicable
       privilege stated in the General Objections.
            Ms. Giuffre refers to the list of witnesses identified in her Revised Rule 26
       Disclosures. Also, notwithstanding previously-noted objections, Ms. Giuffre
       testified in Edwards v. Cassell, Broward County Case Number CACE 15-000072
       on January 16, 2016, regarding the subject matter requested. See
       GIUFFRE005094- GIUFFRE007566. Ms. Giuffre additionally testified regarding
       the subject matter requested in this interrogatory on in the above-captioned case in
       her deposition on May 3, 2016. Additionally, Ms. Giuffre was trafficked to other
       individuals whose name she never learned or whose names she does not
       remember. Identification of any other individuals would be irrelevant and unduly
       burdensome. Moreover, as specifically provided in Rule 33.3(b), “[d]uring
       discovery, interrogatories other than those seeking information described in
       paragraph (a) [] may only be served (1) if they are a more practical method of
       obtaining the information sought than a request for production or a deposition or
       (2) if ordered by the Court.” Because Ms. Giuffre has provided an answer to this
       interrogatory in her deposition, which was a more practical method of obtaining
       the information sought, this interrogatory is improper under the Local Rules as
       well as wholly duplicative.

       Subpart objection. This is addressed above in the discussion of Objection 1.

       Privilege assertion. This is addressed above in the discussion of Objection 6. It is

inconceivable that any privilege applies to the identities of individuals to whom Plaintiff alleges

she was sexually trafficked. This is a frivolous assertion of privilege.

       Plaintiff’s deficient answer. Instead of identifying individuals as required by the

interrogatory, Plaintiff instead “refer[red]” to her Rule 26 disclosures, her testimony in a Florida

state case, and her earlier deposition in this case. This is non-responsive and evasive, in violation

of Rule 37(a)(3). See, e.g., Public Storage v. Sprint Corp., No. CV 14-2594-GW PLAX, 2015

WL 1057923, at *17 (C.D. Cal. Mar. 9, 2015) (“Plaintiffs may not answer the interrogatory by

generally referring Defendant to the pleadings filed in this case, documents produced, opt-in

questionnaires, depositions, or declarations…. [A] responding party may not answer an

interrogatory by directing the party propounding the interrogatory to find answers from

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previously produced documents or identified witness lists.”), appeal dismissed (Mar. 30, 2016);

Smith v. Trawler Capt. Alfred, Inc., No. 2:12-CV-2866-DCN, 2014 WL 1912067, at *3 (D.S.C.

May 13, 2014) (“Smith’s cursory references to the pleadings, his deposition, and his medical

records are not responsive answers to defendants’ interrogatories.”); DirectTV, Inc. v. Puccinelli,

224 F.R.D. 677, 680 (D. Kan. 2004) (“defendant may not direct plaintiffs to find answers from

previously produced documents or identified witness lists”) (internal quotations omitted).

       Interrogatory No. 13. Identify any Health Care Provider from whom You
       received any treatment for any physical, mental or emotional condition, including
       addiction to alcohol, prescription or illegal drugs, that You suffered from prior to
       the Alleged Defamation by Ghislaine Maxwell, including:
            a. the Health Care Provider’s name, address, and telephone number;
            b. the type of consultation, examination, or treatment provided;
            c. the dates You received consultation, examination, or treatment;
            d. whether such treatment was on an in-patient or out-patient basis;
            e. the medical expenses to date;
            f. whether health insurance or some other person or organization or entity has
            paid for the medical expenses; and
            g. For each such Health Care Provider, please execute the medical and mental
            health records release attached hereto as Exhibit A.
       Response:
            Ms. Giuffre objects to this interrogatory because it violates this Court’s
       Order. The Court has excluded the production of medical records from prior to
       1999, stating, “the damage issue relates, in my view, solely to the defamation.”
       (April 21, 2016, Hearing Transcript at 20:23-24). This holding applies to pre-1999
       medical records. As this interrogatory is not limited to the time period ordered by
       this Court, Ms. Giuffre objects.
            Ms. Giuffre objects to this interrogatory in that it is overbroad and not limited
       in scope to the medical information relating to the abuse she suffered from
       Defendant and Jeffrey Epstein.
            Ms. Giuffre objects because Rule 26 does not allow discovery that is so
       burdensome as to require a Herculean effort by an adult to track down every
       possible prescription ever written for Ms. Giuffre, or every physician who ever
       treated Ms. Giuffre, even as a small child. Such a request is not only impractical

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        and unduly burdensome, but likely impossible. Accordingly, such an interrogatory
        is merely for the purpose of imposing a burden on Ms. Giuffre and her attorneys,
        not to mention the purposes of harassment.
            Pursuant to the Rules, if requested documents are not yielded in a “reasonable
        inquiry,” Ms. Giuffre is not obligated to expend all of her time and resources on a
        quest to gather medical files from her birth to the present to find any prescriptions
        ever written for her for anything at all.[4] Ms. Giuffre is not certain as to her the
        sum of her medical expenses from 1999 to the present, and therefore is unable to
        answer that subpart. Ms. Giuffre is not aware of what health insurance carrier or other
        organization paid for her historical medical expenses unless it is identified on the
        records produced to the Defendant.
             Finally, Ms. Giuffre objects in that it seeks information protected by the
        doctor-patient privilege, and any other applicable privilege stated in the General
        Objections. Ms. Giuffre further objects to this interrogatory in that it violates Rule
        33 as its subparts, in combination with the other interrogatories, exceed the
        allowable twenty-five interrogatories. Ms. Giuffre further objects to this request in
        that it is overbroad and seeks confidential medical information of a sex abuse
        victim and is not limited in scope to the issues in this case.
            Without waiving such objections, Ms. Giuffre has already produced her
        responsive documents Bates labelled GIUFFRE000001 to GIUFFRE007566, and
        supplements such documents as follows….[5]

        Objection 8.

        Pre-1999 medical records are discoverable. Plaintiff had requested damages allegedly

suffered from being the “victim of sex trafficking” dating back to 1999. On April 21, 2016, the

Court ruled that Plaintiff’s damages are limited to harm from the alleged defamation. Regarding

Ms. Maxwell’s request for records pre-dating 1999, the Court said: “As for the pre-’99 medical

records, based on where we are at the moment, I do not believe that those are relevant …

[b]ecause the damage issue relates … solely to the defamation.” Tr. 20:21-24 (Apr. 21, 2016).

        Plaintiff objected to this interrogatory on the ground it requested pre-1999 medical

information in “violat[ion]” of the Court’s ruling. The objection should be overruled. The issue

        4
           Plaintiff’s voluminous arguments and argumentative citations to case law—inserted into her multi-page
“objections”—are omitted in this Motion.
         5
           Immediately following this paragraph was a tabular chart listing names of healthcare providers, the
healthcare provided, Plaintiff’s counsel’s efforts undertaken to obtain records, and documents produced to the
defense. On July 29, 2016, Plaintiff supplemented the chart. The supplementation did not cure the deficiencies.

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before the court in April concerned discovery of Plaintiff’s medical records because those

records bore on her claim she had suffered “sex trafficking” damages. Interrogatory No. 13 does

not seek medical information for that purpose.

       Plaintiff has alleged she has suffered more than $30 million in noneconomic damages

from the allege defamation; she intends to request an additional $50 million in punitive damages

related at least in part on the alleged conduct that caused the noneconomic damages. The defense

intends to show that Plaintiff for financial and other improper reasons manufactured her

allegations of “sex trafficking” and created from whole cloth her alleged $30 million in

noneconomic damages from “defamation.” Some of the most relevant and material evidence

concerns pre-1999 medical records and information, which contradict some of Plaintiff’s sworn

testimony about the alleged “sex trafficking.” For example, Plaintiff has testified Mr. Epstein and

Ms. Maxwell subjected her to sex trafficking in 1998. Yet, in 1998 Plaintiff was an inpatient

resident at a drug rehabilitation facility. As another example, Plaintiff has alleged that


                                                                                        -
Ms. Maxwell’s denial in 2015 of Plaintiff’s allegations of sex trafficking caused her to ingest

ever greater quantities of anti-anxiety and other prescription medications, for which Plaintiff is

seeking noneconomic damages. Yet, Plaintiff’s pre-1999 medical records will establish that

Plaintiff was a longtime drug addict—addicted to prescription and other drugs.

       Additionally, based on Plaintiff’s claims of having suffered $30 million in mental pain

and anguish, among other noneconomic damages, Ms. Maxwell is entitled to pre-1999 medical

records to establish the mental and emotional baseline for Plaintiff and to determine her

preexisting mental and emotional condition, since under no circumstances is Ms. Maxwell liable

for Plaintiff’s preexisting mental and emotional condition. See, e.g., Bauman v. 2810026 Canada

Ltd., No. 15-CV-374A(F), 2016 WL 402645, at *1 (W.D.N.Y. Feb. 3, 2016); Pokigo v. Target



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Corp., 2014 WL 6885905, at **2-3 (W.D.N.Y. Dec. 8, 2014) (plaintiff’s preexisting mental and

physical conditions relevant to plaintiff’s damage claim); Bruno v. CSX Transp., Inc., 262 F.R.D.

131, 133-34 (W.D.N.Y. 2009) (granting discovery of plaintiff’s medical records relating to

plaintiff’s substance abuse and mental health treatment where disclosure was likely to reveal

evidence of alternative or intervening causes for the damages claimed by plaintiff).

       Objection 9.

       The interrogatory is not overbroad. The interrogatory required Plaintiff to identify

healthcare providers who treated her for specified conditions, e.g., mental conditions and

addiction, “prior to” any alleged defamation of her by Ms. Maxwell. Plaintiff’s “overbreadth”

objection argued that the interrogatory was not “limited in scope to the medical information

relating to the abuse she suffered from Defendant and Jeffrey Epstein.” The premise is wrong.

Plaintiff, who is suing for more than $80 million in damages and who claims to have suffered

more than $30 million in noneconomic damages, including “pain and suffering,” cannot be heard

to complain about an interrogatory requesting the identities of healthcare providers who treated

her before the alleged defamation-related injuries. Plaintiff’s pre-defamation physical and mental

condition is the baseline for her claim for damages and is therefore highly relevant. See, e.g.,

This Mot., at 15-16 (citing cases).

       The interrogatory is not unduly burdensome. We incorporate here the discussion

above on Objection 3, and supplement as follows. Plaintiff implicitly concedes that her physical

and mental condition before the alleged defamation is relevant to this lawsuit. Her complaint

about burdensomeness suggests only that her “pre-defamation” physical and mental condition

was so complex or required so much medical attention that it would be unduly burdensome for

her to “track down” all her medical providers. The simple answer is twofold. One, relevant and



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discoverable information does not become immune from discovery or “unduly burdensome”

because there is a lot of it. Two, when a plaintiff alleges, as here, that she has suffered more than

$30 million in physical and mental injury from an allegedly defamatory denial of her claim of

sex trafficking, the defense is entitled to know her physical and mental condition before and after

the alleged defamation.

       Relatedly, Plaintiff argued that if she has made a “reasonable inquiry,” she cannot be

required to “expend all of her time and resources on a quest to gather medical files.” To begin

with, the interrogatory does not require Plaintiff to “gather medical files.” Additionally, the

interrogatory does not require Plaintiff to expend “all of her time and resources” to gather

documents, and Plaintiff has not done so. Finally, although Plaintiff has provided the identity of

some healthcare providers, it is far from clear she has made a “reasonable inquiry” required by

the interrogatory.

       No privilege applies. The assertion of the doctor-patient privilege is frivolous. The

identities of Plaintiff’s healthcare providers are not subject to privilege. Regardless, Plaintiff has

placed her physical and mental condition and the identities of those who treated her condition in

issue by alleging $50 million worth of physical and mental injuries.

       Subpart objection. This is addressed above in the discussion of Objection 1.

       Plaintiff’s deficient answer. “Without waiving [her] objections,” Plaintiff answered ■
                                                                                            she

“has already produced her responsive documents” and referred the defense to 7,566 pages of

undifferentiated documents. The answer is non-responsive. Interrogatory 13 is not a request for

production of documents. Additionally, as discussed above at page 7 of this Motion, it is

improper for a party to answer an interrogatory by reference to an undifferentiated mass of


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documents.



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       By way of example only, Plaintiff’s mother, father, boyfriend, and ex-fiance all have

testified that in 1998 and 1999, Jane Doe 2



                                                                                   .

       Further, Plaintiff has claimed as losses “medical expenses of ‘not less than’ $100,000,”

yet her interrogatory response states simply that she “is not certain as to her the sum of her medical

expenses from 1999 to the present, and therefore is unable to answer that subpart. Ms. Giuffre is

not aware of what health insurance carrier or other organization paid for her historical medical


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expenses.” This is non-responsive. It is insufficient to claim that one is “not certain” of the

answers as to medical expenses when she is seeking ‘not less than’ $100,000 in damages from

that category.

       Interrogatory No. 14. Identify any Person who You believe subjected You to, or
       with whom You engaged in, any illegal or inappropriate sexual contact, conduct
       or assault prior to June 1999, including the names of the individuals involved, the
       dates of any such illegal or inappropriate sexual contact, conduct or assault,
       whether Income was received by You or anyone else concerning such event,
       whether a police report was ever filed concerning such event and the outcome of
       any such case, as well as the address and location of any such event.
       Response:
            Ms. Giuffre objects to this request in that it is overbroad and invades Ms.
       Giuffre right to privacy (including her constitutionally-protected right of privacy)
       by seeking confidential information relating to the sexual abuse of a minor sex
       abuse victim. Ms. Giuffre objects to this request in that it seeks sexual assault
       information for a period prior to the sexual abuse at issue in this matter, and for a
       period when she was a minor child. The Court has excluded the production of
       medical records from prior to 1999, stating, “the damage issue relates, in my
       view, solely to the defamation.” (April 21, 2016, Hearing Transcript at 20:23-24).
       This holding applies equally to pre-1999 sexual assault….
           Additionally, it has become increasingly clear that Defendant’s counsel is
       seeking these documents for the improper purpose of harassment ….
           Ms. Giuffre also objects to this request because such events would have taken
       place in Florida, and information relating to those events is protected from

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 disclosure by law. Florida statutes protect “[a]ny information in a videotaped
 statement of a minor who is alleged to be or who is a victim of sexual battery . . .
 which reveals that minor’s identity.” Fla. Stat. § 119.071. Additionally, Fla. Stat.
 985.036 protects records where a juvenile is a victim of a crime. Further, Section
 794.026, Fla. Stat., creates a civil right of action against an individual who
 communicates to others, identifying information concerning the victim of a sexual
 offense. Additionally, Second, Fla. Stat. § 985.04 and Fla. Stat. § 985.054 make
 juvenile law enforcement records confidential from members of the public, and
 states that information obtained by a law enforcement agent participating in the
 assessment of a juvenile is confidential. Finally, certain of the police reports
 implicate Ms. Giuffre’s involvement with the Florida Department of Children and
 Families, see e.g., GM_00750, and if such reports are part of the State’s
 Department of Children and Families’ records, they are confidential pursuant to
 Fla. Stat. § 39.202(6). Accordingly, Ms. Giuffre objects to this request ….
      Ms. Giuffre additionally objects to this request in that it is sought solely to
 harass, and intimidate Ms. Giuffre who is a victim of sexual abuse by the
 Defendant. Ms. Giuffre objects on the basis that Defendant is not entitled to a full-
 scale production of everything that has happened throughout the entire course of
 her life time [sic], particularly the time sought in this request which predates
 Defendant’s meeting and abuse of Ms. Giuffre….
      Furthermore, discovery concerning Ms. Giuffre’s prior sexual assault is not
 relevant to the claim at issue in this case, the defenses at issue, or the damages
 claimed, and therefore well outside the scope of discovery permitted by Fed. R.
 Civ. P. 26…. Giving testimony on such irrelevant, but painful, topics would be
 extraordinarily embarrassing, oppressive, and traumatic for Ms. Giuffre, and it is
 wholly irrelevant to any party’s claim or defense. Accordingly, such discovery is
 not sought in good faith.
    This request is particularly improper as it cannot conceivably lead to
 admissible evidence….
      Ms. Giuffre objects to this interrogatory in that it violates Rule 33 as it, in
 combination with the other interrogatories, exceed the allowable twenty-five
 interrogatories. Ms. Giuffre objects in that it seeks information protected by the
 attorney-client/work product privilege, and any other applicable privilege stated in
 the General Objections.
      Additionally, to the extent that it is available to Ms. Giuffre, all of this
 information is already in the possession of Maxwell as she obtained and produced
 police reports regarding Ms. Giuffre, which Ms. Giuffre did not have in her
 possession. Ms. Giuffre was also questioned for seven hours in her May 3, 2016,
 deposition by Defendant’s attorney….

 Objection 10.



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        Plaintiff has no valid “privacy” objection. This interrogatory requested the identity of

individuals who Plaintiff believes “subjected [her] to, or with whom [she] engaged in, any illegal

or inappropriate sexual contact, conduct or assault prior to June 1999,” and basic information

relating to such improper actions, e.g., date, whether a police report was filed. None of this

illegal or inappropriate sexual contact, conduct or assault is within the right to privacy. To the

extent any right of privacy is applicable, the Court’s Protective Order affords Plaintiff all the

privacy to which she is entited.

        Objection 11.

        There is no “harassment.” Federal Rule of Evidence 412, commonly referred to as the

rape-shield law, does not apply in a defamation action such as this where the evidence would be

offered to show that the alleged defamatory statements are true or did not damage plaintiff’s

reputation. See Advisory Committee Notes, 1994 Amendments, Federal Rule of Evidence 412

(“in a defamation action involving statements concerning sexual misconduct in which the

evidence is offered to show that the alleged defamatory statements were true or did not damage

the plaintiff’s reputation, neither Rule 404 nor this rule will operate to bar the evidence”).

Certainly, if evidence of prior alleged sexual assaults (whether unfounded or not) are admissible

in this action, ipso facto they are discoverable under the standards of Rule 26 previously

articulated.

        Plaintiff has alleged Ms. Maxwell’s denial of Plaintiff’s allegations of sex trafficking

caused her to suffer in excess of $30 million in compensatory damages. There is an abundance of

evidence suggesting that well before she met Ms. Maxwell, Plaintiff had engaged in illegal sex

activities or falsely claimed she was the victim of illegal sex activities. Information relating to




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this subject is hardly harassing. To the contrary, it constitutes evidence relevant to the defense of

this action.

        Objection 12.

        No law bars a responsive answer to this interrogatory. Plaintiff argued that Florida laws

bar the interrogatory and relieve her of the obligation to provide a responsive answer. This is a

frivolous argument. The Florida laws prohibit Florida agencies from disclosing certain

information about sexual assault victims. Plaintiff is not a state agency. None of the laws is

relevant to this action, where a defamation plaintiff claiming to be the victim of sexual

trafficking sues a defendant for reputational injury and is required in discovery to provide

information about illegal sex activities.

        Subpart objection. This is addressed above in the discussion of Objection 1.

        No privilege applies. The discussion above relating to Objection 6 applies here. None of

Plaintiff’s illegal sex activities, whether she was a willing participant or a victim, is cloaked with

any privilege.

        Plaintiff’s deficient answer. Plaintiff suggested she is not required to answer because

the requested information “is already in the possession of [Ms. Maxwell].” As discussed on page

8 of this Motion, a party may not resist a discovery request by asserting that the party seeking

discovery “already is in possession” of the requested information.

       II. Plaintiff’s answers to the requests for admission are deficient.

        Plaintiff’s responses to the following requests for admissions are deficient:

        RFA No. 1. Admit that you were not 15 years old when you first met Ghislaine
        Maxwell.
        Response:
             Denied in part. At the time Ms. Giuffre made the statement, many years after
        the events occurred, she firmly believed she was 15 years old when she was

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 recruited away from her job at Mar-a-Lago by Ghislaine Maxwell. She later
 obtained some records from Mar-a-Lago which indicated that she was employed
 there during the year 2000. From January, 2000 through August 9, 2000, she was
 16 years old; from August 9, 2000 through December 2000 she was 17 years old.
 While she now knows, based on this discovery, that she was not 15 years old, she
 now has conclusive proof that she was an underage minor when Ghislaine
 Maxwell approached her, recruited her, introduced her to Jeffrey Epstein, and
 sexually trafficked her as an underage minor.
 RFA No. 2. Admit that you were not 15 years old when you first met Jeffrey
 Epstein.
 Response:
      Denied in part. At the time Ms. Giuffre made the statement, many years after
 the events occurred, she firmly believed she was 15 years old when she was
 recruited away from her job at Mar-a-Lago by Ghislaine Maxwell. She later
 obtained some records from Mar-a-Lago which indicated that she was employed
 there during the year 2000. From January, 2000 through August 9, 2000, she was
 16 years old; from august 9, 2000 through December 2000 she was 17 years old.
 While she now knows, based on this discovery, that she was not 15 years old, she
 now has conclusive proof that she was an underage minor when Ghislaine
 Maxwell approached her, recruited her, introduced her to Jeffrey Epstein, and
 sexually trafficked her as an underage minor.
 RFA No. 3. Admit that you were not 15 years old at the time you claim you were
 sexually trafficked by Jeffrey Epstein.
 Response:
      Denied in part. At the time Ms. Giuffre made the statement, many years after
 the events occurred, she firmly believed she was 15 years old when she was
 recruited away from her job at Mar-a-Lago by Ghislaine Maxwell. She later
 obtained some records from Mar-a-Lago which indicated that she was employed
 there during the year 2000. From January, 2000 through August 9, 2000, she was
 16 years old; from August 9, 2000 through December 2000 she was 17 years old.
 While she now knows, based on this discovery, that she was not 15 years old, she
 now has conclusive proof that she was an underage minor when Ghislaine
 Maxwell approached her, recruited her, introduced her to Jeffrey Epstein, and
 sexually trafficked her as an underage minor.
 RFA No. 4. Admit that Ghislaine Maxwell did not celebrate your 16th birthday
 with You.
 Response:
      Denied in part. At the time Ms. Giuffre made the statement, many years after
 the events occurred, she firmly believed she was 15 years old when she was
 recruited away from her job at Mar-a-Lago by Ghislaine Maxwell. She later
 obtained some records from Mar-a-Lago which indicated that she was employed
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 there during the year 2000. From January, 2000 through August 9, 2000, she was
 16 years old; from August 9, 2000 through December 2000 she was 17 years old.
 While she now knows, based on this discovery, that she was not 15 years old, she
 now has conclusive proof that she was an underage minor when Ghislaine
 Maxwell approached her, recruited her, introduced her to Jeffrey Epstein, and
 sexually trafficked her as an underage minor. While she now knows, based on this
 discovery, that it could not have been her 16th birthday that Ghislaine celebrated,
 she now has conclusive proof that she was an underage minor when Ghislaine
 Maxwell approached and recruited her for illegal purposes, and she remembers
 celebrating a birthday with Ghislaine Maxwell.
 RFA No. 5. Admit that Ghislaine Maxwell did not make a joke on your 16th
 birthday after You blew out an array of candles and said You “would be soon
 getting too old for Jeffrey’s taste, and soon they’d have to trade me in.”
 Response:
      Denied in part. At the time Ms. Giuffre made the statement, many years after
 the events occurred, she firmly believed she was 15 years old when she was
 recruited away from her job at Mar-a-Lago by Ghislaine Maxwell. She later
 obtained some records from Mar-a-Lago which indicated that she was employed
 there during the year 2000. From January, 2000 through august 9, 2000, she was
 16 years old; from august 9, 2000 through December 2000 she was 17 years old.
 While she now knows, based on this discovery, that she was not 15 years old, she
 now has conclusive proof that she was an underage minor when Ghislaine
 Maxwell approached her, recruited her, introduced her to Jeffrey Epstein, and
 sexually trafficked her as an underage minor. While she now knows, based on this
 discovery, that it was not her 16th birthday that she celebrated with Ghislaine
 Maxwell, she now has conclusive proof that she was an underage minor when
 Ghislaine Maxwell approached and recruited me for illegal purposes, and she
 remember celebrating a birthday with Ghislaine Maxwell, during which she made
 the referenced joke.
 RFA No. 6. Admit that you did not work at Mar-a-Lago when you were 15 years
 old
 Response:
      Denied in part. At the time Ms. Giuffre made the statement, many years after
 the events occurred, she firmly believed she was 15 years old when she was
 recruited away from her job at Mar-a-Lago by Ghislaine Maxwell. She later
 obtained some records from Mar-a-Lago which indicated that she was employed
 there during the year 2000. From January, 2000 through August 9, 2000, she was
 16 years old; from August 9, 2000 through December 2000 she was 17 years old.
 While she now knows, based on this discovery, that she was not 15 years old, she
 now has conclusive proof that she was an underage minor when Ghislaine
 Maxwell approached her, recruited her, introduced her to Jeffrey Epstein, and
 sexually trafficked her as an underage minor.


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       RFA No. 7. Admit that you did not work for Jeffrey Epstein for four years.
       Response:
             Denied in part. At the time she made the statement, many years after the
       events occurred, and based purely from memory without the assistance of any
       documents, she firmly believed she was with Jeffrey Epstein over a four year
       period. With the assistance of various records obtained after she made that
       statement, she now knows that she was not with Jeffrey Epstein for four years.
       She was sent to Thailand by Jeffrey Epstein in September 2002 and that was the
       last time she saw him.


       RFA No. 8. Admit that You did not spend four years as an underage sex slave for
       Jeffrey Epstein.
       Response:
            Denied in part. At the time she made the statement, many years after the
       events occurred and based purely from memory without the assistance of any
       documents, she firmly believed she was with Jeffrey Epstein over a four year
       period. With the assistance of various records obtained after she made that
       statement, she now knows that she was not with Jeffrey Epstein for four years;
       however she was a sex slave for Jeffrey Epstein for years.
       RFA No. 13. Admit that You never observed Al Gore on the island of Little St.
       James.
       Response:
            Denied in part. Her memory from 15 or more years ago is that it was on the
       island where she met Mr. Gore, although she has testified that she could have
       been incorrect on that location. While traveling with Epstein and Maxwell, she
       met so many people and was taken to so many places as a minor that perfect recall
       of exact locations is difficult, but based on her best recollection, denied.

       In Request for Admissions Nos. 1-8 and 13, Plaintiff answered “[d]enied in part” and

then provided a narrative that implicitly admitted the request for admission while explaining why

she believed otherwise at an earlier time. None of these responses is proper. Rule 36(a)(4)

provides in relevant part:

       If a matter is not admitted, the answer must specifically deny it or state in detail
       why the answering party cannot truthfully admit or deny it. A denial must fairly
       respond to the substance of the matter; and when good faith requires that a party
       qualify an answer or deny only a part of a matter, the answer must specify the
       part admitted and qualify or deny the rest.

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(emphasis supplied). Plaintiff denied only “a part of a matter” and therefore was required to

“specify the part admitted.” In Request for Admissions Nos. 1-8 and 13, Plaintiff failed to

specify any part that was admitted. Her answers violate Rule 36.

       Request for Admission No. 12. Admit that You never had a conversation with
       Bill Clinton regarding him flying with Ghislaine Maxwell in a helicopter.
       Response:
           Objection. Defendant Maxwell has clearly incorrectly interposed and
       comingled the facts which comprise the foundation of this request for admission.
       Ms. Giuffre has never alleged that she “had a conversation with Bill Clinton
       regarding him flying with Ghislaine Maxwell in a helicopter.” Instead, Ms.
       Giuffre has alleged, “I flew to the Caribbean with Jeffrey and then Ghislaine
       Maxwell went to pick up Bill [Clinton] in a huge black helicopter that Jeffrey had
       bought her.” Sara Nathan, Bill Clinton Pictured with Jeffrey Epstein’s Social
       Fixer, Daily Mail, (12 January 2015).
            As a threshold matter, a court must determine whether the statements set
       forth in a request for admissions satisfy the formal requirements of Rule 36 ….
             Consequently, Ms. Giuffre objects to answering this request for admission as
       it is based on “half-truths,” which make it impossible to answer without a
       qualified response.

       Plaintiff objected to this request for admission and provided no answer. That is improper.

The request required Plaintiff to admit whether she had a conversation with President Clinton

regarding him flying in a helicopter with Ms. Maxwell. Either she is able to admit this request in

full or in part, or she is able to deny the request in full or in part, as Rule 36 requires. She may

not object and refuse to admit or deny.

      III. Plaintiff’s responses to requests for production are deficient.

       RFP No. 1. All Communications and Documents identified in Interrogatories 5-
       14, above.
       Response:

            Ms. Giuffre objects in that it seeks information protected by the attorney-
       client/work product privilege, and any other applicable privilege stated in the
       General Objections. Ms. Giuffre objects to this request on the grounds that it is

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         wildly overly broad and unduly burdensome, and calls for the production of
         documents that are irrelevant to this action and not reasonably calculated to lead
         to the discovery of admissible evidence, as described more fully above in
         response to the interrogatories. For example, Interrogatory Number 5, would
         cover documents spanning over 100 years collectively from attorneys, and
         compliance with this production request would be literally impossible due to the
         untethered scope of the request. Ms. Giuffre objects to this request in that it seeks
         to invade the privacy rights of a sex abuse victims, and is meant for the improper
         purpose of harassing and intimidating this victim.

         No privilege applies. As discussed above in connection with Plaintiff’s assertion of

privilege in her interrogatory responses, see, e.g., This Motion, at 9, no privilege applies to the

information requested in Interrogatory Nos. 5-14. Nor does any privilege apply to the

communications and documents identified in those interrogatories.

         The RFP is not overbroad. Plaintiff’s overbreadth objection appears to be the same as

its overbreadth objection interposed in response to the interrogatories. For the reasons discussed

in response to Plaintiff’s Objection 9, see This Motion, at 16, the objection is meritless.

         The RFP is not unduly burdensome. Plaintiff’s burdensomeness objection is premised

on an unreasonable reading of the interrogatories. That objection is meritless. See This Motion,

at 5.

         The RFP does not implicate Plaintiff’s right to privacy. As discussed above, see This

Motion, at 20, Plaintiff has no right to privacy to the information requested in the interrogatories

or to the related communications and documents.

         RFP No. 4. All Documents relating to any Communications between or among
         You or Your attorneys or any agent for You or Your attorneys, and any of the
         following individuals or with their attorneys, agents or representatives:
             a. Any witness disclosed in Plaintiff’s Rule 26(a) disclosures;
             b. Any witness disclosed in Defendant’s Rule 26(a) disclosures;
             c. Any witness identified by You in response to Interrogatory No. 8 and No.
             14.


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       Response:
            Ms. Giuffre objection to this request on the grounds that it is overly broad
       and unduly burdensome in that it is not limited in time, and it seeks documents
       relating to hundreds of individuals. Ms. Giuffre objects because compliance with
       this request is unduly burdensome. For example, this request seeks documents
       relating to over 100 individuals, and has no date or time limitations or subject
       matter limitations whatsoever. Ms. Giuffre objects to this request in that
       documents responsive to this request are within the possession, custody and
       control of the defendant and Jeffrey Epstein with whom she claims a joint defense
       privilege and defendant has refused to produce responsive documents to Ms.
       Giuffre’s request seeking communications between the Defendant and Ms.
       Giuffre and between Jeffrey Epstein and Ms. Giuffre. Ms. Giuffre objects in that
       it seeks information protected by the attorney-client/work product privilege, and
       any other applicable privilege stated in the General Objections. Specifically,
       counsel’s communications with witnesses are protected under the work product
       doctrine. Ms. Giuffre objects to this request in that it is sought solely to harass and
       intimidate Ms. Giuffre, and invade her privacy, by seeking her private
       communications with her various family members, including aunts, uncles and
       parents and siblings. Ms. Giuffre further objects as this request calls for the
       production of documents that are irrelevant to this action and not reasonably
       calculated to lead to the discovery of admissible evidence.
           Ms. Giuffre is withholding production of documents that are privileged
       pursuant to the attorney-client privilege, the work product privilege, and the
       public interest privilege. Ms. Giuffre is also withholding electronic renditions of
       photographs that depict the faces of her minor children, including school portraits
       and other photographs taken that reveal the faces of her minor children.
            Ms. Giuffre additionally objects to the extent that this request seeks the
       communications of her attorneys, as such request is overly broad and unduly
       burdensome. This is especially true given that certain attorneys for Ms. Giuffre
       additionally represent other individuals listed on the Rule 26 Disclosures in
       separate legal matters, and revelation of such communications would violate
       privileges that do not belong to Ms. Giuffre, but rather belong to other victims of
       sexual abuse who have not waived such privileges. Accordingly, Ms. Giuffre is
       withholding these documents from production based on her objections.
            Subject to and without waiving the above objections, Ms. Giuffre has already
       produced documents Bates labelled GIUFFRE000001 to GIUFFRE007566, which
       includes her communications with many of the individuals set forth in this
       request. However, producing documents with the additional, newly-added
       individuals would be overly burdensome, as there is no limitation as to time
       period, scope or subject-matter.

       The objections are meritless. As to burdensomeness, the relevance of the requested

communications is obvious, as the witnesses all have information relevant to the factual issues in

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this case. Plaintiff argued that the request encompasses “over 100” witnesses; notably, however,

Plaintiff did not claim she and her attorneys have communicated with even 20, let alone 100,

witnesses, nor has she disclosed the volume of documents actually implicated by this request; so

Plaintiff has failed even to make a prima facie case of burdensomeness. As to “privacy,” no such

right to privacy is implicated in this request; even if it were, the Court’s Protective Order more

than adequately protects that right. As to assertions of privilege or immunity over any responsive

document, to the extent any privilege or immunity applies, Plaintiff must comply with her duties

under Local Rule 26.2 and Federal Rule 26(b)(5).

       The “objection” that Plaintiff has no duty to produce because the defense “already has”

the requested documents is meritless. See This Motion, at 8 (citing cases).

       That Plaintiff’s attorneys represent or have represented other clients and have had non-

privileged, non-immunized communications with the witnesses described in the request is not a

relevant fact for purposes of discovery in this case. So long as the Plaintiff and her attorneys

have responsive documents, those documents must be produced.

       Plaintiff’s deficient response. Notwithstanding her objections, Plaintiff responded that

she previously produced 7,566 documents, some of which, she said, include requested


-
documents. That is a deficient response. In violation of Rule 34(b)(2)C), Plaintiff has failed to

state whether she is withholding documents. Additionally, Plaintiff may not answer a Rule 34

request by referring the defense to a mass of undifferentiated documents. DirecTV, 224 F.R.D. at

682 (holding that Rule 34 response referring opponent to previous production was “improper”:

“Plaintiff was required to identify the particular documents or to organize and label them to

correspond to these specific requests. There is nothing in the record indicating that Plaintiff did

so. Thus, Plaintiff’s partial responses to these requests did not comply with Rule 34(b).”).



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 RFP No. 9. All Documents concerning any Communications between You or
 Your attorneys and any witness in the case captioned Jane Doe #1 and Jane Doe
 #2 v. United States, Case No. 08-ev-80736-KAM, in the U.S. District Court for
 the Southern District of Florida (“CVRA” case).
 Response:
      Ms. Giuffre objects to this request on the grounds that it is overly broad and
 unduly burdensome, particularly as it calls for the production of documents that
 are irrelevant to this action and not reasonably calculated to lead to the discovery
 of admissible evidence, and because it would require the review of hundreds of
 thousands of documents which would take hours upon hours of attorney time. Ms.
 Giuffre objects in that it seeks information protected by the attorney-client/work
 product privilege, and any other applicable privilege stated in the General
 Objections.
      With regard to communications by Ms. Giuffre’s attorneys, this request seeks
 clearly privileged materials, because Ms. Giuffre’s attorneys represent not only
 Ms. Giuffre (Jane Doe 3) in the CVRA matter, but also Jane Doe 1, Jane Doe 2,
 and Jane Doe 4. Any communications between the four Jane Does, via Ms.
 Giuffre’s attorneys, would be plainly be subject to attorney client protection, not
 to mention work product protection as well.
      With regard to contact with “witnesses,” the request is vague, unduly
 burdensome, and overbroad. The CVRA case centers on issues surrounding
 whether the U.S. Government failed to confer and otherwise protect the rights of
 victims (including Janes Does 1, 2, 3, and 4) during plea negotiations with Jeffrey
 Epstein. Accordingly, some of the main “witnesses” in the case are the
 Government prosecutors who handled the plea negotiations. Several of the same
 prosecutors who handled the plea negotiations are also involved in defending the
 CVRA case. The CVRA has been in litigation for nearly eight years, and there
 have extensive communications with the prosecutors (including communications
 concerning approximately 10,000 pages of documents that were requested by
 victims’ counsel and provided to Judge Marra for in camera review). The request
 appears designed to target all of these communications, and such
 communications, going back eight years, would necessitate a review of several
 hundreds of thousands of emails over that time to identify communications with
 the Government prosecutors. The burden would be substantial and the relevance
 would be essentially non-existent. Whatever communications Ms. Giuffre’s
 attorneys would have had with government prosecutors about CVRA notifications
 concerning a prosecution of Epstein would not shed light on whether Defendant
 Maxwell defames Ms. Giuffre in attacking her as, for example, a liar.
      Moreover, many materials related to this case remain under Judge Marra’s
 protective order. Accordingly, before Ms. Giuffre’s counsel could even have the
 option to release certain materials that the Government has provided to him as an
 attorney in the case, defendant Maxwell would have to approach Judge Marra and
 seek a modification of the protective order.

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      The request is also vague because it is not clear precisely what “witnesses”
 Defendant Maxwell is concerned about. There have, for example, between
 communications between Ms. Giuffre’s lawyers and lawyers for Mr. Epstein and
 Mr. Dershowitz connected with procedural and other aspects of this case. Again,
 the relevance of such communications seems basically non-existent to the action.
 But because the case has spanned eight years, collecting such communications
 would be difficult and overly burdensome. Moreover, Defendant Maxwell has a
 close working relationship and/or joint defense arrangement with both Mr.
 Epstein and Mr. Dershowitz. There is no reason to burden Ms. Giuffre’s attorneys
 will collecting such communications when she can collect them in other ways.
 RFP No. 10. All Documents concerning any Communications between you or
 your attorneys and any witness or potential witness in Edwards and Cassell v
 Dershowitz (“Dershowitz” case).
 Response:
      Ms. Giuffre objects to this request on the grounds that it is overly broad and
 unduly burdensome, particularly as it calls for the production of documents that
 are irrelevant to this action and not reasonably calculated to lead to the discovery
 of admissible evidence, and because it would require the review of hundreds of
 thousands of documents which would take hours upon hours of attorney time. It is
 not clear what the phrase “concerning” is designed to cover. As a third-party
 witness in that action, Ms. Giuffre had numerous communications with, for
 example, her attorneys in relation to that matter, and therefore, these
 communications are subject to the attorney client privilege and protected by the
 work product doctrine. It unclear what documents “concerning” communications
 with “witnesses” refers to, and it could expansively cover a vast number of
 documents, emails, and other communications that have taken place over the
 course of this litigation.
      With regard to communications by Ms. Giuffre’s attorneys, this request seeks
 clearly privileged materials (or materials covered by the work product doctrine).
      With regard to “witnesses” or “potential witnesses,” the request is vague,
 unduly burdensome, and overbroad. The Dershowitz case centers on issues
 surrounding whether the Ms. Giuffre’s lawyers (Edwards and Cassell) had
 conduct a sufficient investigation before filing a motion to join Jane Doe 3 (and
 Jane Doe 4) into the CVRA case. That investigation involves not only attorney-
 client materials, but also work product protections for Jane Doe 1 and Jane Doe 2.
 This request, then, covers communications going back eight years, and it would
 involve a review of several hundreds of thousands of emails over that time to
 identify communications relevant to the potential “witnesses” who might have
 been able to shed light on the claims in the CVRA case and, in turn, whether sex
 abuse had been committed by Alan Dershowitz. The burden would be substantial
 and the relevance would be essentially non-existent. Such a burden is not
 countenanced by Rule 26 or the prevailing case law. Whatever communications
 Ms. Giuffre’s attorneys may have had as part of their (work product protected)

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       investigation would not shed light on whether Defendant Maxwell defames Ms.
       Giuffre in attacking her as, for example, a liar.
            The request is also vague because it is not clear precisely what “witnesses”
       Defendant Maxwell is concerned about. There have, for example, between
       communications between Ms. Giuffre’s lawyers and lawyers for Mr. Epstein and
       Mr. Dershowitz Again, the relevance of such communications seems basically
       non-existent to the action. But because their investigations have spanned eight
       years, collecting such communications would be difficult. Moreover, Defendant
       Maxwell has a close working relationship and/or joint defense arrangement with
       both Mr. Epstein and Mr. Dershowitz. There is no reason to burden Ms. Giuffre’s
       attorneys with collecting such communications when she can collect them in other
       ways. Indeed, in light of the fact that Maxwell and Dershowitz have a close
       working relationship, it is unduly burdensome that Maxwell seeks these items not
       from her ally but from attorneys for her legal adversary.

       RFP Nos. 9 and 10 request documents concerning communications between Plaintiff or

her attorneys and various witnesses. Because the responses are substantially identical, we

combine here the discussion of both RFPs and Plaintiff’s respective responses.

       As to alleged burdensomeness and overbreadth, we refer the Court to the discussion

above of the same objections interposed in response to RFP No. 4. As to relevance, such

communications with witnesses certainly bear on Plaintiff’s claim and Ms. Maxwell’s defense,

see Fed. R. Civ. P. 26(b)(1). As to assertions of privilege or immunity over any responsive

document, to the extent any privilege or immunity applies, Plaintiff must comply with her duties

under Local Rule 26.2 and Federal Rule 26(b)(5).

       RFP No. 11. Any statement obtained by You or Your attorneys from any witness
       or potential witness in the CVRA case.
       Response:
            Ms. Giuffre objects to this request on the grounds that it is overly broad and
       unduly burdensome, particularly as it calls for the production of documents that
       are irrelevant to this action and not reasonably calculated to lead to the discovery
       of admissible evidence, and because it would require the review of hundreds of
       thousands of documents which would take hours upon hours of attorney time. Ms.
       Giuffre objects in that it seeks information protected by the attorney-client/work
       product privilege, and any other applicable privilege stated in the General
       Objections.

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      Ms. Giuffre objects because the term “statement” is vague and ambiguous,
 unduly burdensome and overbroad. With regard to communications to Ms.
 Giuffre’s attorneys, this request seeks clearly privileged materials, because Ms.
 Giuffre’s attorneys represent not only Ms. Giuffre (Jane Doe 3) in the matter, but
 also Jane Doe 1, Jane Doe 2, and Jane Doe 4.
      The CVRA case centers on issues surrounding whether the U.S. Government
 failed to confer and otherwise protect the rights of victims (including Janes Does
 1, 2, 3, and 4) during plea negotiations with Jeffrey Epstein.
      The CVRA has been in litigation for nearly eight years, and there have
 extensive communications with the prosecutors (including communications
 concerning approximately 10,000 pages of documents that were requested by
 victims’ counsels and provided to Judge Marra for in camera review). It is not
 clear whether the request is designed to request all of these communications as
 “statements,” but if it does capture these communications going back eight year, it
 would involve a review of several hundreds of thousands of emails over that time
 to identify communications with the Government prosecutor. The burden would
 be substantial and the relevance would be essentially non-existent. Whatever
 statements Ms. Giuffre’s attorneys obtained from government prosecutors about
 CVRA notifications concerning a prosecution of Epstein would not shed light on
 whether Defendant Maxwell defames Ms. Giuffre in attacking her as, for
 example, a liar. Moreover, many materials remain under Judge Marra’s protective
 order. Accordingly, before Ms. Giuffre’s counsel could even have the option to
 release certain materials that the Government has provided to him as an attorney
 in the case, defendant Maxwell would have to approach Judge Marra and seek a
 modification of the protective order.
      The request is also vague because it is not clear precisely what “statements”
 Defendant Maxwell is concerned about. There have, for example, between
 communications between Ms. Giuffre’s lawyers and lawyers for Mr. Epstein and
 Mr. Dershowitz connected with procedural and other aspects of this case. Again,
 the relevance of such communications seems basically non-existent to the action.
 But because the case has spanned eight years, collecting such communications
 would be difficult. Moreover, Defendant Maxwell has a close working
 relationship and/or joint defense arrangement with both Mr. Epstein and Mr.
 Dershowitz. There is no reason to burden Ms. Giuffre’s attorneys will collecting
 such statements when she can collect them in other ways.
 RFP No. 12. Any statement obtained by You or Your attorneys from any witness
 or potential witness in the Dershowitz case.
 Response:
      Ms. Giuffre objects to this request on the grounds that it is overly broad and
 unduly burdensome, particularly as it calls for the production of documents that
 are irrelevant to this action and not reasonably calculated to lead to the discovery
 of admissible evidence, and because it would require the review of hundreds of
 thousands of documents which would take hours upon hours of attorney time. Ms.
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 Giuffre objects in that it seeks information protected by the attorney-client/work
 product privilege, and any other applicable privilege stated in the General
 Objections.
      Ms. Giuffre objects because the term “statement” is vague and ambiguous,
 unduly burdensome and overbroad. The Dershowitz case centers on issues
 surrounding whether the Ms. Giuffre’s lawyers (Edwards and Cassell) had
 conduct a sufficient investigation before filing a motion to join Jane Doe 3 (and
 Jane Doe 4) into the CVRA case. That investigation involves not only attorney-
 client materials, but also work product protections for Jane Doe 1 and Jane Doe 2.
 The request potentially covers communications or “statements” going back eight
 years, and it would involve a review of several hundreds of thousands of emails
 over that time to identify “statements” made by any “witness” or “potential
 witness” who might have been able to shed light on whether sex abuse had been
 committed by Alan Dershowitz. The burden would be substantial and the
 relevance would be essentially non-existent Whatever communications Ms.
 Giuffre’s attorneys may have had as part of their (work product protected)
 investigation would not shed light on whether Defendant Maxwell defames Ms.
 Giuffre in attacking her as, for example, a liar.
      With regard to communications to Ms. Giuffre’s attorneys, this request seeks
 clearly privileged materials, because Ms. Giuffre’s attorneys represent not only
 Ms. Giuffre (Jane Doe 3) in the matter, but also Jane Doe 1, Jane Doe 2, and Jane
 Doe 4 in the CVRA litigation.
      The CVRA has been in litigation for nearly eight years, and there have
 extensive communications with the prosecutors (including communications
 concerning approximately 10,000 pages of documents that were requested by
 victims’ counsels and provided to Judge Marra for in camera review). It is not
 clear whether the request is designed to request all of these communications as
 “statements,” but if it does capture these communications going back eight year, it
 would involve a review of several hundreds of thousands of emails over that time
 to identify communications with the Government prosecutor. The burden would
 be substantial and the relevance would be essentially non-existent. Whatever
 statements Ms. Giuffre’s attorneys obtained from government prosecutors about
 CVRA notifications concerning a prosecution of Epstein would not shed light on
 whether Defendant Maxwell defames Ms. Giuffre in attacking her as, for
 example, a liar.
      The request is also vague because it is not clear precisely what “statements”
 Defendant Maxwell is concerned about. There have, for example, between
 communications between Ms. Giuffre’s lawyers and lawyers for Mr. Epstein and
 Mr. Dershowitz connected with procedural and other aspects of these cases.
 Again, the relevance of such communications seems basically non-existent to the
 action. Moreover, Defendant Maxwell has a close working relationship and/or
 joint defense arrangement with both Mr. Epstein and Mr. Dershowitz. In light of
 the fact that Maxwell and Dershowitz have a close working relationship, it is


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       unduly burdensome that Maxwell seeks these items not from her ally but from
       attorneys for her legal adversary. There is no reason to burden Ms. Giuffre’s
       attorneys will collecting such statements when she can collect them in other ways.

       RFP Nos. 11 and 12 request statements Plaintiff has obtained from witnesses in related

cases. Because the responses are substantially identical, we combine here the discussion of both

RFPs and Plaintiff’s respective responses.

       As to alleged burdensomeness and overbreadth, we refer the Court to the discussion

above of the same objections interposed in response to RFP No. 4. As to relevance, the written

statements of the witnesses certainly bear on Plaintiff’s claim and Ms. Maxwell’s defense, see

Fed. R. Civ. P. 26(b)(1). As to Plaintiff’s blanket assertions of privilege or immunity over

witness statements, to the extent any privilege or immunity applies, Plaintiff must comply with

her duties under Local Rule 26.2 and Federal Rule 26(b)(5). While some witness statement might

qualify for work product protection, it is clear that some do not, e.g., witness statements that do

not reveal an attorney’s mental impressions. See, e.g., Tuttle v. Tyco Elecs. Installation Servs.,

Inc., No. 2:06-CV-581, 2007 WL 4561530, at *2 (S.D. Ohio Dec. 21, 2007) (“Affidavits are

normally not protected by the work product doctrine for the very reason that an affidavit purports

to be a statement of facts within the personal knowledge of the witness, and not an expression of

the opinion of counsel. Further, Defendants should not be frustrated in their ability to test the

perception and credibility of these affiants.”) (internal quotations omitted).

       Plaintiff has failed to sign her interrogatory responses.

       Rule 33(b)(5) requires that a party answering interrogatories sign her answers. Plaintiff

has failed to do so, despite a request from defense counsel. This violation of Rule 33(b)(5)

subjects Plaintiff to sanctions. See, e.g., Walls v. Paulson, 250 F.R.D. 48 (D.D.C. 2008)

       Ms. Maxwell is entitled to attorney fees incurred in making this Motion.


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       Under Rule 37(a)(5), if a party is required to file a motion to compel discovery responses

and the motion is granted or disclosure or discovery is provided after filing, “the court must, after

giving an opportunity to be heard, require the party or deponent whose conduct necessitated the

motion, the party or attorney advising that conduct, or both to pay the movant’s reasonable

expenses incurred in making the motion, including attorney’s fees.” By signing the objections,

Plaintiff’s counsel certified the responses and objections were: (i) consistent with these rules and

warranted by existing law or by a nonfrivolous argument for extending, modifying, or reversing

existing law, or for establishing new law; (ii) not interposed for any improper purpose, such as to

harass, cause unnecessary delay, or needlessly increase the cost of litigation.” Fed. R. Civ. P.

26(g)(1). The sanction for improper certifications of objections requires “the court, on motion or

on its own, must impose an appropriate sanction on the signer, the party on whose behalf the

signer was acting, or both. The sanction may include an order to pay the reasonable expenses,

including attorney’s fees, caused by the violation.” Fed. R. Civ. P. 26(g)(3).

       Sanctions are appropriate here. Plaintiff’s counsel have interposed improper, sometimes

frivolous, objections, and Plaintiff without any substantial justification has simply refused to

answer discovery requests.

                                         CONCLUSION

       For the foregoing reasons, the Court should compel Plaintiff to:

   1. Overrule Plaintiff’s objections to discovery requests;

   2. Provide complete responses Interrogatories 5-8, 13-14, and state what information, if any,
      information is being withheld on the basis of objection;

   3. Provide answers to requests for admissions that comply with Rule 36;

   4. Specifically state for each objection made to the requests for production what, if any,
      documents are being withheld and the specific objection under which it is being withheld;



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   5. Undertake a reasonable and diligent inquiry for all documents requested in RFP Nos. 1,
      4, 9-12 that are in her possession, custody or control, and produce them.

Ms. Maxwell further requests under Fed. R. Civ. P. 26(g) and 37(a)(5) that the Court enter an

Order for attorney costs and fees incurred in preparing and prosecuting this Motion.


Dated: August 10, 2016



                                                Respectfully submitted,



                                                /s/ Laura A. Menninger
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                                                Attorneys for Ghislaine Maxwell




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                                CERTIFICATE OF SERVICE

       I certify that on August 10, 2016, I electronically served this Defendant’s Motion to
Compel Responses to Defendant’s Second Set of Discovery Requests to Plaintiff, and for
Sanctions via ECF on the following:

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